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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

BRAD A. MART,                              )
                                           )
              Plaintiff,                   )
                                           )
              v.                           )       No. 3:10 CV 118
                                           )
FOREST RIVER, INC.,                        )
PETER J. LIEGL, and                        )
BERKSHIRE HATHAWAY, INC.,                  )
                                           )
              Defendants.                  )

                                         ORDER

              On May 4, 2012, the attorneys for all parties jointly filed a document

entitled “Stipulation For Dismissal With Prejudice.” (DE # 115.) That document, which

contains the electronic signatures of counsel for each of the parties who have appeared

in this case, requests that the court issue an order dismissing this case with prejudice.

(Id.)

        Once the parties have properly filed a stipulation of dismissal under FED. R. CIV.

P. 41(a)(1)(A)(ii), a case stands dismissed without a court order. FED. R. CIV. P. 41(a)(1);

see Jessup v. Luther, 277 F.3d 926, 928 (7th Cir. 2002) (citing RULE 41(a)(1)(ii) and noting

that pursuant to a stipulation of dismissal, a suit “will be dismissed without further ado

or court action”). Because all of the parties who have appeared have signed this

document, the court does not need to issue an order, as the case stands dismissed

without a court order. Luther, 277 F.3d at 928.
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       Accordingly, the court DECLINES to enter any order of dismissal regarding the

“Stipulation For Dismissal With Prejudice.” (DE # 115.) To the extent that the

stipulation (id.) appears as a pending motion in the CM/ECF system, the Clerk is

directed to terminate that status.

                                         SO ORDERED.

       Date: May 8, 2012

                                         s/James T. Moody
                                         JUDGE JAMES T. MOODY
                                         UNITED STATES DISTRICT COURT
